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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                    CASE NO. 16-62028-CIV-LENARD/GOODMAN

    CLINGMAN & HANGER MANAGEMENT
         ASSOCIATES, LLC as Trustee

                             Plaintiff,

                     v.

    DAVID KNOBEL, JEFFREY PIERNE, NEAL
       YAWN, DEAN BARTNESS, SIANA
         STEWART, and CID YOUSEFI

                            Defendants.



   DEFENDANTS’ MOTIONS IN LIMINE AND MEMORANDUM OF LAW IN SUPPORT
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                                               Introduction

          Pursuant to the Court’s Scheduling Order (Dkt. 53 at 3), Defendants submit the following

   motion in limine and incorporated memorandum of law in support. Defendants seek to exclude

   certain evidence as inadmissible on the grounds that such evidence is not relevant, is unfairly

   prejudicial, constitutes improper hearsay, or cannot be authenticated.

          Legal Standard For Admissibility Of Evidence At The Motion In Limine Stage

          “Rules 401–403 of the Federal Rules of Evidence set forth the basic rules controlling the

   admissibility of evidence.” French Cuff, Ltd. v. Markel Am. Ins. Co., No. 07-60006-CIV, 2010

   WL 11504372, at *3 (S.D. Fla. Feb. 8, 2010) (Lenard, J.). “Rule 401 defines ‘relevant evidence’

   as evidence having any tendency to make the existence of any fact that is of consequence to the

   determination of the action more probable or less probable than it would be without the evidence.

   Only relevant evidence is admissible under Rule 402.” Id. “Finally, pursuant to Rule 403,

   although relevant, evidence may be excluded if its probative value is substantially outweighed by

   the danger of unfair prejudice, confusion of the issues, or misleading the jury, or by

   considerations of undue delay, waste of time, or needless presentation of cumulative evidence.”

   Id.

          In addition, the “following evidence rules must be considered: . . . is [the evidence]

   authentic as required by Rule 901(a) . . . if the [evidence] is offered for its substantive truth, is it

   hearsay as defined by Rule 801, and if so, is it covered by an applicable exception (Rules 803,

   804 and 807) . . . [and] is the form of the [material] that is being offered as evidence an original

   or duplicate under the original writing rule, of if not, is there admissible secondary evidence to

   prove the content of the [evidence] (Rules 1001–1008) . . . .” Lorraine v. Markel Am. Ins. Co.,

   241 F.R.D. 534, 538 (D. Md. 2007).
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            The Court should grant a motion in limine where the “proposed evidence is clearly

   inadmissible on all potential grounds.” Brown v. NCL (Bahamas) Ltd., 2016 WL 8730147, at *2

   (S.D. Fla. Oct. 13, 2016) (Lenard, J.).

 I.      Any Testimony And Purported Interview Notes Of The Greenberg Traurig Attorneys
         Should Be Excluded Because Such Evidence Cannot Be Offered “Solely For
         Impeachment.”

            On April 19, 2018, Magistrate Judge Goodman issued a report and recommendation to

   this Court regarding Defendants’ Motion to Strike Plaintiff’s Untimely Disclosed Witnesses.

   (Dkt. 284). 1 Defendants had moved to exclude the witnesses—former FCC corporate counsel

      (the “Greenberg Lawyers”) who had interviewed certain Defendants and purportedly created

   unauthenticated interview notes (the “Greenberg Notes”)—because the witnesses were not

   timely disclosed by Plaintiff under Federal Rule of Civil Procedure 26. (Dkt. 184). Judge

   Goodman agreed that the disclosure was untimely and recommended that this Court prohibit

      Plaintiff from introducing testimony from the Greenberg Lawyers for substantive purposes.

   (Dkt. 284 at 12). Judge Goodman further recommended that this Court prohibit the Greenberg

   Lawyers from testifying at all unless the testimony is used solely for impeachment. (Id.)

            “Solely for impeachment” is a category of testimony that “is a narrow exception that

      should be limited to circumstances where the evidence offered by the witness plays no role

   other than impeachment.” Lawson v. Plantation Gen. Hosp., L.P., 2010 WL 11504835, at *3

   (S.D. Fla. May 3, 2010) (emphasis added). “[I]t is the rare case where an attack on a witness's

   credibility cannot be linked to some substantive element of a claim.” Id. (emphasis added).

   See also, e.g., Matters Useful for Impeachment, 8 Fed. Prac. & Proc. Civ. § 2015 (3d ed.) (“Even


   1
    The deadline for Plaintiff to object to the report and recommendation was last Thursday, May
   3, 2018. Plaintiff did not object.

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   those who have been most concerned about protecting impeachment material recognize that

   substantive evidence must be subject to discovery even though it also tends to contradict

   evidence of the discovering party.”); Hammonds v. Jackson, 2015 WL 12867065, at *3 (N.D.

   Ga. Mar. 16, 2015) (“If a document has some impeachment value, but also has independent

   relevance to the merits of the case, the document is not ‘solely’ for impeachment and must be

   disclosed.”) (emphasis added). 2

          Whether evidence only has impeachment value or also has independent substantive

   value does not turn on the professed purpose of the proponent.         Instead, the Court must

   objectively evaluate the nature of the evidence to determine whether its only possible role is

   impeachment or whether it also has inherent substantive value. In Chiasson v. Zapata Gulf

   Marine Corp., the Fifth Circuit reversed the district court for admitting untimely disclosed

   evidence on the premise it was offered “solely for impeachment.” 988 F.2d 513, 517 (5th Cir.

   1993). At issue was a videotape showing the plaintiff—who was suing for personal injuries—

   performing daily activities. Id. at 514–15. The defendant offered the tape purportedly only for

   impeachment because the tape contradicted plaintiff’s testimony about the extent of her injuries.

   Id. at 517. The district court admitted the evidence, concluding that it had only impeachment

   and not substantive value. Id.

          The Fifth Circuit reversed, holding that, even if the tape had “some impeachment value, it

   is also of a substantive nature.” Id. “Substantive evidence is that which is offered to establish

   the truth of a matter to be determined by the trier of fact.” Id. Since one of the issues in that

   case was the “severity of her pain and the extent to which she has lost the enjoyment of normal

   activity . . . [e]vidence which would tend to prove or disprove such losses must be considered
   2
    Report and recommendation adopted, 2015 WL 12866453 (N.D. Ga. May 18, 2015), aff'd sub
   nom. Hammonds v. Fulton Cty., 628 F. App’x 716 (11th Cir. 2016).

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   ‘substantive.’” Id. “Because the tape is, at the very least in part substantive, it should have

   been disclosed . . . regardless of its impeachment value. The district court abused its discretion

   by allowing non-disclosure and admitting the tape into evidence.” Id. at 517–18 (emphasis

   added).

             The Chiasson holding was recently affirmed in the Fifth Circuit in Olivarez v. GEO Grp.,

   Inc., 844 F.3d 200, 205 (5th Cir. 2016) (affirming exclusion of evidence because it had

   “substantive value”). This position has been adopted by a majority of other Circuits. See Searles

   v. Van Bebber, 251 F.3d 869, 877 (10th Cir. 2001) (“If, as the judge saw it, the evidence was

   really more than mere impeachment evidence, then the witnesses should have been disclosed.”);

   Wilson v. AM General Corp., 167 F.3d 1114, 1122 (7th Cir. 1999) (same); Klonoski v. Mahlab,

   156 F.3d 255, 270 (1st Cir. 1998) 3 (same); see also, e.g., Brooks v. Kerry, 37 F. Supp. 3d 187,

   204 (D.D.C. 2014) (same); Newsome v. Penske Truck Leasing Corp., 437 F. Supp. 2d 431, 436

   (D. Md. 2006) (same). Although the Eleventh Circuit has not ruled on this issue, it will likely

   adopt the majority position when the issue is properly presented.

             Here, the testimony of the Greenberg Lawyers and the content of the Greenberg Notes

   would necessarily play a role other than impeachment because they would have independent

   relevance to the merits of the case. Plaintiff acknowledge this in a prior memorandum, stating:

   “[t]he statements made in the Greenberg Notes directly support Plaintiff’s allegations that the

   Defendants knowingly drew funds from the DOE to which they were not entitled, failed to

   conduct mandatory reconciliations, failed to timely make refunds to the DOE, and failed to have

   adequate checks and balances.” (Dkt. 197 at 7) (emphasis added). It is clear from Defendants’

   pending motion for summary judgment (Dkt. 247) that these allegations are central to this case.
   3
    Superseded by rule on other grounds as recognized in In re Subpoena to Witzel, 531 F.3d 113,
   118 (1st Cir. 2008).

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          Indeed, by the allegations of the Amended Complaint and through deposition

   questioning, it appears that Plaintiff hopes to offer the testimony of the Greenberg Lawyers along

   with the Greenberg Notes to attempt to prove that Defendant Cid Yousefi admitted to regulatory

   violations during the course of the Greenberg interviews, including: that FCC was drawing down

   funds from the DOE without student rosters; that FCC was not reconciling its records; and that

   FCC was not making refunds. Each of these allegations is denied by Defendants, including

   Yousefi, and the Notes themselves have never been authenticated. But there is no doubt that

   proof of these allegations is central to Plaintiff's case. (See Dkt. 197 at 3). This is not the “rare

   case” where the attack on a Defendant’s credibility is independent of the substantive elements of

   the claim. Because this evidence goes to the heart of this action, it is impossible for such

   testimony to be offered solely for impeachment. Therefore, this Court should exclude any

   testimony from the Greenberg Lawyers.

          The Greenberg Notes also should be excluded because they cannot be properly

   authenticated. The Notes were not signed or even seen by any Defendant until discovery in this

   case. No Defendant authenticated the Notes. Compare United States v. Isiwele, 635 F.3d 196,

   200 (5th Cir. 2011) (holding that prior inconsistent statements under Rule 613 were authentic

   under Rule 901 where impeached parties had verified their signatures on the documents). The

   only witnesses who could possibly authenticate the Notes are the Greenberg Lawyers. But since

   their testimony should be excluded for the reasons argued above, the Notes they authored should

   also be excluded.

          The Greenberg Notes are also inadmissible because they constitute hearsay not subject to

   any exception. Fed. R. Evid. 802. The Notes are out-of-court statements by the Greenberg

   Lawyers that Plaintiff will likely offer for their truth. Fed. R. Evid. 801(c). Nor can Plaintiff



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    introduce the Notes for a non-hearsay impeachment purpose because doing so would have a

    substantive impact on the case in violation of the “solely for impeachment” rule discussed above.

 II.      Plaintiff Cannot Offer Hearsay And Irrelevant Statements Through Barbara Davis.

              The Court should exclude irrelevant hearsay statements that Plaintiff may seek to admit

   through Barbara Davis, the designee of the Department of Education’s (“DoE”). Plaintiff may

    seek to admit certain statements from the Davis depositions that are inadmissible as irrelevant

       and hearsay.

              First, Davis testified that an attorney for FCC informed her via letter that FCC lacked

    certain records to substantiate funds drawn down from the federal government. (Dkt. 239-1,

   Davis Tr. Vol. II 454:9–25, 479:9–17). Davis’ testimony about the content of this letter is

   textbook hearsay not subject to any exception because the attorney’s communication is an out-

   of-court statement that would be offered via Davis for its truth. Fed. R. Evid. 802. 4

              Next, Plaintiff may seek to testify about statements made to her by non-party witness

   John Murphy. Davis testified that Murphy allegedly called her in April or May of 2014 to tell

   her about “things going on” that were not “right” at FCC. (Id. 478:14–21, 8–17). Like the letter

   from FCC’s attorney, Davis’ testimony about Murphy’s statements is inadmissible as hearsay not

   subject to any exception.

              In addition to the hearsay objections, Davis’ testimony from both of these sources is

   inadmissible because it is irrelevant.      Plaintiff’s case is founded upon the contention that

   Defendants’ actions caused the DoE to restrict Title IV funding on March 31, 2014, which in


    4
      Moreover, no such letter was ever identified by Davis. In fact, Davis expressly refused to
    authenticate the letter proffered to her by Plaintiff’s counsel on this point at her deposition. (“I
    don’t think this is the exact letter that I was referencing.” (Id. 558:22–23)). Thus, Davis’
    testimony about the content of the purported letter not only would be hearsay, but hearsay about
    a document that has never been identified or authenticated, and may not even exist.

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    turn allegedly caused FCC to file for bankruptcy protection, which in turn led to Plaintiff’s

    alleged damages. (Dkt. 85 ¶¶79, 112). 5 Both the unidentified letter and the Murphy telephone

       call occurred after March 31, 2014. But any information Davis received after March 31, 2014

    cannot be relevant to Plaintiff’s claims because it could not have informed Davis’ earlier

    decision to place FCC into a different funding program.

              Put another way, a “fact . . . of consequence” here is whether Davis changed FCC’s Title

    IV funding on March 31, 2014 because Defendants violated Title IV regulations. Fed. R. Civ. P.

    401. Anything Davis learned after that date cannot make that fact “more or less probable than it

   would be without the evidence[.]” Id.

III.      The Unsigned and Redacted Interview Notes Purportedly From The DoE’s Inspector
          General Are Unauthenticated Hearsay.

              At the deposition of Defendant Dean Bartness, Plaintiff showed Bartness notes purported

    to be from an interview of him by employees from the DoE’s Inspector General’s Office

    (“Interview Notes”). (Dkt. 226-2 at 76, deposition exhibit 107). The Interview Notes, which are

    heavily-redacted and unsigned by either Bartness or the interviewers, are hearsay statements of

   DoE employees that cannot be admitted for the truth of the matters asserted. Compare Isiwele,

   635 F.3d at 200 (admitting evidence where parties agreed that their signatures were on the

   documents in question). Moreover, the Notes cannot be authenticated because the authors of the

   notes are not even known given that the DoE withheld this information by heavily redacting the

   Notes. Thus, the Court should exclude these Interview Notes as unauthenticated hearsay.


    5
      As pleaded in the operative complaint, Plaintiff must prove that Defendants’ actions not only
    caused the DoE to take the action it took on March 31, 2014, but that the DoE’s action in turn
    caused Plaintiff’s damages. See Triton Const. Co. v. E. Shore Elec. Servs., Inc., 2009 WL
    1387115, at *28 (Del. Ch. May 18, 2009), aff’d, 988 A.2d 938 (Del. 2010) (a plaintiff seeking
    compensatory damages for breach of fiduciary duty must “demonstrate that the defendant caused
    the injury.”).

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IV.      The Court Should Exclude Evidence About The Patient Care Technician Program As
         Irrelevant.
             Plaintiff might also attempt to admit evidence about FCC’s Patient Care Technician

   Program (“PCT Program”), which was one of FCC’s course offerings. But the PCT Program has

   nothing to do with the claims or defenses in this case.

             In its Amended Complaint, Plaintiff alleged that the PCT Program received Title IV

   funds even though it was not approved to receive such funds. (Dkt. 85 ¶¶50–53). At the

   deposition of Defendant Bartness, Plaintiff’s counsel inquired about the PCT Program, which

   apparently had not been added to the Eligibility and Certification Approval Report, or “ECAR,”

   as required by the DoE. (Dkt. 226-1, Bartness Tr. 171:6–172:7).

             But this issue has no bearing on Plaintiff’s causes of action. Plaintiff contends that

      Defendants intentionally violated certain regulations identified in its Amended Complaint

   regarding funds management. (Dkt. 85, Am. Compl. ¶34 & nn. 1–5). At bottom, Plaintiff’s case

      turns on whether Defendants drew down Title IV funds without sufficient student enrollment to

      justify the draws. (Id. ¶¶3–4). Whether the PCT Program was properly approved by the DoE,

      though, has no “tendency to make [that] fact more or less probable . . . .” Fed. R. Evid. 401(a).

             There is no evidence showing that the issue with the PCT Program played any role in the

   DoE’s decision to change FCC’s funding method, which (as noted above) is the action that

   Plaintiff contends resulted from Defendants’ actions and resulted in Plaintiff’s damages. (Dkt.

   85 ¶¶ 79, 112). Again, the DoE made its decision on March 31, 2014, which preceded discovery

   of the issue with the PCT Program in June of that year. (Bartness Tr. 171:3–5). Thus, it is

   impossible that any issue with that Program played any role in the DoE’s decision to alter FCC’s

   funding method. Plaintiff’s only purpose in introducing such evidence would be to mislead the




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   jury about the actual reasons for the DoE’s action on March 31, 2014. Admission of such

   evidence would unfairly prejudice Defendants. Fed. R. Evid. 403.

 V.      Evidence Of Purported “Industry Custom And Practice” Should Be Excluded As
         Irrelevant, Confusing, Misleading, And Unfairly Prejudicial.
             Plaintiff has indicated that it plans to offer evidence at trial that Defendants’ alleged

   conduct did not comply with “industry” standards.” Any such evidence is irrelevant to Plaintiff's

   claims, which are based exclusively on violations of federal regulations. (Am. Compl., Dkt. 85,

   Counts I and II). Admitting such evidence not only would violate Rule 401, but also would

   violate Rule 403 by confusing the jury about the standard of liability, thereby prejudicing the

   Defendants by increasing the risk of a verdict based upon improper evidence.

             A review of the Amended Complaint reveals that this case is about whether Defendants

      complied with federal law, not about “industry practice or standards.” Plaintiff has pleaded that

      Defendants are liable for breaches of fiduciary duty (both loyalty and care) because they had

      violated federal Title IV regulations. The count for breach of the fiduciary duty of loyalty is

   premised on intentional violations of the regulations at issue (Dkt. 85 ¶¶142–144) or upon the

   failure to monitor FCC’s compliance with those regulations (a Caremark claim). (Id. ¶¶145–

   146).

             Similarly, the county for breach of fiduciary duty of care is premised exclusively on the

   theory that Defendants’ gross negligence resulted in regulatory violations that damaged the

   company. For example, Plaintiff alleged in this count that Defendants David Knobel and Jeffrey

   Pierne “violated the prompt disbursement rule” 6 (id. ¶128), Defendant Neal Yawn caused FCC

      to violate “DOE regulations” pertaining to refund requirements 7 (id. ¶131), Defendant Siana

   6
       This “rule” is a DoE regulation. See Am. Compl. n. 1 (citing 34 C.F.R. §§ 668.162(b)(3)).
   7
       See Am. Compl. n. 3 (citing 34 C.F.R. § 668.21).

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   Stewart and Cid Yousefi’s failed to reconcile data violated “DOE regulations 8 (id. ¶132), and

   Defendant Bartness “was responsible for ensuring compliance with DOE regulations (id. ¶134).

   See also Def. Reply in Supp. Mot. to Exclude James Murphy (Dkt. 277 at 1–4 & nn. 1–2)

   (detailing how all of the allegations in the causes of action hinge on regulatory violations); Def.

   Reply in Supp. Mot. to Exclude Aaron Lacey (Dkt. 276 at 5–7 & nn. 3–4) (same). Critically,

   none of the regulations incorporate “industry practice or standards” as part of the standard of

   liability.

            Plaintiff has made clear that at least one of its experts plans to offer his opinion about

   whether Defendants adhered to “industry” custom and practice. See Pl. Opp’n to Def. Mot. to

   Exclude James Murphy (Dkt. 261 at 1). Plaintiff also may attempt to inject additional “industry”

   evidence into this case through other witnesses, including fact witnesses. For example, Barbara

   Davis, the deponent from the Department of Education’s (“DoE”), testified about actions taken

   by other schools in managing their Title IV funds in comparison to actions taken by FCC. (Dkt.

   239-1, Davis Tr. Vol. II 429:14–22.) Whether Defendants breached the standard of care as

   Plaintiff alleged in this case does not depend upon what other schools did; it depends solely on

   whether Defendants intentionally violated federal regulations or were recklessly indifferent or

   acting beyond the bounds of reason in allowing FCC to violate federal regulations. Therefore,

   the Court should exclude any such evidence as irrelevant under Rule 401.

            The Court should also exclude this evidence under Rule 403 because Defendants would

   be unfairly prejudiced by introduction of this evidence. The balancing test under Rule 403 yields

   a simple result: the complete lack of probative value of evidence stands in contrast to the jury

   confusion that would result from introduction of this evidence. The jury would likely conflate


   8
       See Am. Compl. n. 5 (citing 34 C.F.R. § 685.300).

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   the true standard of gross negligence with the lesser standard of ordinary care based on “industry

      custom.” Defendants ask this Court to rule that all evidence of industry practice or standards,

   including expert and lay opinion, is inadmissible.

VI.      Spring Zutes’ Reports and Emails About Financial Aid Practices Are Inadmissible.
             Plaintiff will attempt to admit multiple reports and emails created by third-party witness

   Spring Zutes. Zutes was not an employee at FCC. Instead, she worked only as a consultant for a

   few months in 2014, hired by a potential purchaser of FCC to advise in the purchaser’s decision.

   (Dkt. 253-1, Zutes Tr. 21:13-22:13). As a consultant, Zutes created and sent many emails and

   reports after March 31, 2014 regarding FCC’s financial aid practices, but these documents are

   inadmissible because they are irrelevant.

             At Zutes’ deposition, she was shown multiple reports and emails generated in or after

   April 2014. (Dkt. 253-2 at 1–96, deposition exhibits 69, 142–151). Specifically, Zutes was

   shown an email and report sent on July 8, 2014 (deposition exhibit 96), a narrative report

   originally dated April 12, 2014 and updated on May 29, 2014 (deposition exhibits 142 and 143),

   a “refund reconstruction” (deposition exhibit 150), and a series of emails between her, her boss

   (Bill Clohan), her colleague (Jamie Morley), and others (including FCC employees).

   (Deposition exhibits 144–151).

             All of these documents are irrelevant because they had no bearing on the decision of the

   DoE to alter FCC’s funding method on March 31, 2014. For example, in the email sent on June

   14 at 2:46 p.m. from Zutes to her boss, Bill Clohan, Zutes discussed a specific financial aid

   practice of posting refunds to student ledgers without making the refunds. (Dkt. 253-2 at 93–95,

   deposition exhibit 151.) But this email was sent months after March 31, 2014, which alone

   makes it immaterial. As noted above, Plaintiff’s case is that Defendants’ actions leading up to

   that date caused the DoE to take action on that date, which in turn caused FCC’s bankruptcy and
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   Plaintiff’s damages. (Dkt. 85 ¶112). In fact, the Amended Complaint makes no allegations

   about Defendants’ financial aid practices after March 31, 2014. Moreover, the DoE’s basis for

   taking its action on March 31, 2014 was necessarily fixed at that moment in time and cannot be

   retroactively modified by an email created months later by a consultant.

          The email is also irrelevant because it is aimed at the financial aid practices under John

   Murphy, who (again) is not a Defendant. Zutes’ criticism of Murphy’s financial aid procedures

   has no bearing on whether Defendants intentionally violated Title IV regulations.

          The same analysis applies to the other emails and the reports: they are not probative as to

   the question of what caused the DoE to take action on March 31, 2014. Indeed, Zutes did not

   begin consulting at FCC until April 2014. (Dkt. 253-1, Zutes Tr. 131:15–132:19). Because

   these documents are not relevant to Plaintiff’s claims in this case, all of these Zutes reports and

   emails should be excluded.

          Moreover, the report sent by Zutes on July 8, 2014 is inadmissible for additional reasons.

   The report is in the form of a spreadsheet containing data, some of which was created by her and

   some of which was created by other individuals (the “Spreadsheet”).              (Dkt. 253-2 at 2)

   (deposition exhibit 96). The Spreadsheet purports to contain information about the amount of

   student loan monies drawn from the DoE on the one hand and the amount of those loan monies

   FCC disbursed to students on the other hand. But the Spreadsheet is cannot be authenticated and

   contains inadmissible hearsay.

          “Simply because information has been created stored on a computer does not make the

   information reliable or authentic.” Computer-stored records and databases, 1 eDiscovery &

   Digital Evidence § 13:19 (citing The Sedona Conference Commentary on ESI Evidence and

   Admissibility, 9 Sedona Conf. J. 217, 222 (2008)). “Courts have recognized that authentication



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   of electronically stored information may require greater scrutiny than that required for the

   authentication of ‘hard copy’ documents.”       eDiscovery & Digital Evidence § 13:1 (citing

   Lorraine, 241 F.R.D. at 542). “[T]he difficulty with authenticating ESI stems from the fact that

   proponents must, in essence, authenticate the computer itself as well as the data entry and

   retrieval processes to authenticate the resulting data.”     Admissibility of evidence at trial—

   Authentication, eDiscovery for Corporate Counsel § 16:5 (citing Lorraine, 241 F.R.D. at 544).

          In United States v. Fernandez, the Eleventh Circuit found “the district court did not abuse

   its discretion in admitting the electronic compilation of . . . data, and the summaries and extracts

   of this data.” 392 F. App’x 743, 746 (11th Cir. 2010). The Court of Appeals emphasized that

   “[t]he custodian’s testimony at trial showed that the data was kept by a routine procedure

   supervised by a federal governmental agency which designed safeguards for the security and

   accuracy of the data.” Id. Further, [t]he custodian’s testimony also showed that the exhibit was

   a business record generated by government-supervised procedures in the regular course of

   business, and there was no evidence to question the trustworthiness of the electronic

   information.” Id. (emphasis added). The Court also noted that lack of contemporaneous

   objection to introduction of the exhibit at trial, prompting deferential plain error review on

   appeal. Id.

          Plaintiff cannot satisfy these elements in offering the Spreadsheet as evidence. Zutes was

   not an FCC employee who created the Spreadsheet in the regular and ordinary course of

   business; she was a consultant hired by a potential purchaser of FCC. (Dkt. 253-1, Zutes Tr.

   21:13–22:13). And far from being a typical document generated at FCC, the Spreadsheet was

   created as a one-off by Zutes as part of a project for the Chief Restructuring Officer, Sean

   Harding. (Dkt. 253-2 at 2, Zutes Tr. 77:20–78:4). Moreover, at her deposition, Zutes was unable



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   to establish that a reliable process or system at FCC had produced the Spreadsheet, let alone that

   such process or system had produced accurate results in the spreadsheet.

          The Spreadsheet contains four tabs. (Exhibit 1). The third tab of the Spreadsheet (“G5

   Draw Detail”) purports to be composed of “information . . . directly from the government” as

   provided by an FCC employee (Roxana Spirea).           (Id. 79:11–14, 97:13–14).      Zutes cannot

   authenticate this data and admitted at deposition that she did not comprehend and could not

   explain this data. When asked what certain columns in that tab meant, Zutes simply did not

   know. (Id. 82:18–21) (stating she is “not sure” what adjustments meant); (see also id. 83:14–15)

   (admitting she does not know what an “offset” is).

          As to the data in the fourth tab (“Ledger Detail”) that supposedly came from STARS (id.

   61:12–15), which is FCC’s student information database.          At deposition, Zutes refused to

   authenticate the STARS data, stating that she did not “feel comfortable” explaining how the data

   was generated from the STARS database. (Zutes Tr. 90:2–11). Zutes admitted that she does not

   even know how certain fields were created. (Id. 86:9–11) (failing to explain how the “date

   posted” was determined). Nor could Zutes explain what certain terms in the Spreadsheet meant.

   (Id. 86:16–87:3) (stating that she did not know what a “credit” meant).

          Zutes also was unable to swear to an explanation of how different columns in the fourth

   tab were populated, hazarding only speculative “guesstimations.” (Id. 90:13–21, 91:3–9). Zutes

   likewise conceded that she could not explain why certain data points did not appear on the

   spreadsheet even though she believed that these values should have appeared. (Id. 89:23–25).

          Moreover, Zutes acknowledged that she had manipulated the data fields in the fourth tab.

   (Id. 85:17–25, 83:16–20).     In fact, Zutes used the term “SZ” for Spring Zutes within the

   Spreadsheet itself to denote fields that she had personally created. (Id.; see also id. at 92:5–19).



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   In other words, Zutes testified that these column headers “did not come out of STARS . . . .” (Id.

   85:22). Beyond all of this, Zutes realized at her deposition that the Spreadsheet was no longer

   complete because it “probably has lost my formulas.” (Id. 92:6).

          As for the first and second tabs (“Summary” and “Draws to ledger DL”), Zutes created

   them based solely on the data in the third and fourth tabs. (Zutes Tr. 97:15–98:7). The

   information in the first two tabs was not created and maintained in the ordinary course of

   business by any employee at FCC, but rather by Zutes. She did not verify the accuracy of the

   underlying data, speak to the mode of storing the data, or any other basic elements of

   authenticity.

          In the end, Zutes testified that she could only explain the first two “summary” tabs that

   she had created: “These are one thing I do remember.” (Id. 97:21) (emphasis added). But

   these tabs were merely her summaries of information from the other tabs, i.e., information about

   which she was “not sure” (DoE and G5 data in the third tab) or about which that she did not “feel

   comfortable” explaining (STARS data in the fourth tab).          In other words, the Spreadsheet

   contains either tabs of data from STARS or the government that Zutes could not authenticate or

   summaries based on that suspect data.

          At this point, there is no possibility that Plaintiff can establish an adequate foundation for

   introducing the Spreadsheet.     Despite Defendants’ extensive efforts during discovery, the

   STARS database still is not available to even attempt to authenticate the data in the Spreadsheet.

   See Def. Mot. for Sanctions, at 4–6 (Dkt. 246). In addition, Defendants have proffered evidence

   showing the unreliability and untrustworthiness of the Spreadsheet. Specifically, Siana Stewart,

   the former Vice President of Financial Services at FCC, stated that the data in the Spreadsheet is




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    incomplete and internally inconsistent.     See Decl. of Siana Stewart ¶¶25–27 (Dkt. 246-1).

    Plaintiff has no witness or evidence to rebut Stewart on these points.

             In addition to the lack of authentication, the Spreadsheet is inadmissible because it

    contains hearsay. “Generally, mechanically generated records don't qualify as ‘statements’ for

    hearsay purposes, but when those records are developed with human input, they can become

    hearsay statements.” United States v. Bates, 665 F. App’x 810, 814 (11th Cir. 2016) (finding

    that district court abused its discretion in admitting reports containing hearsay) (emphasis

   added).

             The Spreadsheet does contain human input from Zutes. As noted above, she created two

   of the tabs in the Spreadsheet. (Id. 83:16–20). She also testified she “created [her] own”

    description for data within the Spreadsheet tab supposedly containing STARS data. (Zutes Tr.

    85:19–25). Thus, the Spreadsheet is a record that was “developed with human input” triggering

    the rule against hearsay.

             Plaintiff will not be able to invoke any exceptions to the bar against hearsay. The

    business records exception does not apply because it was neither made nor kept in the course of a

    regularly conducted activity.    Fed. R. Evid. 803(6)(B)–(C).      Nor did Zutes have adequate

    knowledge about the information in the spreadsheet, as she acknowledged she was not

    “comfortable” discussing the data that came from the STARS database. Fed. R. Evid. 803(A).

    No other exception to the rule against hearsay appears pertinent. For these reasons, the Court

    should exclude the Zutes Spreadsheet from evidence.

VII.   The Barbara Davis Report Cannot Be Authenticated, Is Untrustworthy, And Should Be
       Excluded.

             Similarly, Plaintiff may seek to offer into evidence an ad hoc report created for Davis

    (“Report”) long after the events giving rise to the case occurred.       (Dkt. 239-2 at 16–25)


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   (deposition exhibit 346). Specifically, at Davis’ deposition, Plaintiff showed her the Report,

   which purportedly contains disbursement data and adjustments to disbursement records. (Dkt.

   239-1, Davis Tr. Vol. II 494:24–495:7). Like the Zutes Spreadsheet, the Report cannot be

   properly authenticated and must be excluded.

          “Federal Rule of Evidence 901(b)(9) set[s] forth as an example of authentication[:]

   ‘evidence describing a process or system used to produce a result and showing that the

   process or system produces an accurate result.’” United States v. Lamons, 532 F.3d 1251,

   1265 (11th Cir. 2008) (emphasis added). The advisory committee notes to this Rule clarify that

   901(b)(9) is designed to apply to computer data. See Fed. R. Evid. 901, 1972 Advisory

   Committee Note. 9

          Davis’ testimony did not establish any of the necessary elements for authenticating the

   Report. There is no testimony showing: that the computing equipment and software used to

   generate the Report is recognized as standard; the method of storing the data; the measures taken

   to verify the proper operation and accuracy of the programs and formulas; the measures taken to

   ensure accuracy of the data as entered; that the computer process produces an accurate result

   when correctly employed properly operated; or the time and mode of preparation of the




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    See also, e.g., Indianapolis Minority Contractions Ass’n, Inc. v. Wiley, 1998 WL 1988826, at
   *7 (S.D. Ind. May 13, 1998), aff’d sub nom. Indianapolis Minority Contractors Ass’n, Inc. v.
   Wiley, 187 F.3d 743 (7th Cir. 1999) (excluding evidence; “as a condition precedent to
   admissibility of computer records, the proponent must establish that the process or system used
   produces an accurate result, Fed.R.Evid. 901(b)(9), and that foundation has not been
   established”); compare United States v. Bansal, 663 F.3d 634, 667 (3d Cir. 2011) (admitting
   evidence under 901(b)(9) where “government called a witness to testify about how the . . .
   website works and how reliable its contents are”).

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     printout. 10 The lack of foundation as to any (let alone all) of these elements should preclude

    introduction of the Report.

                In fact, all that Davis established was that the Report was not a standard report used by

    the DoE. Davis testified that the Report was a unique report she “had our COD system folks

    build for me . . . .” (Davis Tr. 495:9–11, 497:4–11). Moreover, Davis stated that she actually

    created the Report at the request of Plaintiff’s counsel during the course of this litigation (and

    many years after the events giving rise to the case). (Id. 496:1–12) (“[W]hat we produced for

    you . . . we ran them for the three schools that you [Plaintiff’s counsel] wanted them for.”).

                Such an ad hoc report does not qualify as a business record because it was not made in

    the regular course of a regularly conducted business activity. Nor was it made at or reasonably

    near the happening of the event. Instead, the Report was created during litigation at the behest of

        a party, which renders the report untrustworthy.       See Fed. R. Evid. 803, 2014 Advisory

        Committee Note (“For example, the opponent might argue that a record was prepared in

        anticipation of litigation and is favorable to the preparing party without needing to introduce

        evidence on the point. A determination of untrustworthiness necessarily depends on the

        circumstances.”). The circumstances surrounding the Davis Report mandate its exclusion from

        evidence at the trial of this case.

VIII.       Plaintiff Should Not Be Allowed To Speculate About Whether The DoE Will Take Any
            Action Against Defendants In The Future.
                Given that this case turns on whether Defendants intentionally violated DoE regulations,

     evidence as to the DoE’s enforcement actions—or, as discovery has revealed in this case, the

     lack thereof—will be relevant evidence for the jury to consider. What will not be relevant,

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      These elements are typically applied by courts when authenticating computer-generated data.
    See, e.g., Computer-stored records, 1 eDiscovery & Digital Evidence § 13:25 (collecting
    authorities).

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   however, is any speculation by Plaintiff that the DoE might yet bring actions against Defendants

   in the future. There is no evidence (including the testimony and documents provided by the DoE

      during discovery) that the DoE is considering taking any such action against Defendants now,

      nearly four years after FCC filed for bankruptcy in August 2014. Therefore, the Court should

      preclude Plaintiff from offering such rank speculation.

IX.      The Court Should Exclude Any Evidence Relating To Defendants’ Stock Options or
         Other Compensation.
             In the Amended Complaint, Plaintiff alleged that Defendants breached their duty of

   loyalty because they took actions adverse to the company in order to enrich themselves through

   stock options or vested stock. (Dkt. 85 ¶141). Defendants moved for summary judgment on any

   claim of self-dealing relating to Defendants’ stock, stock options, or variable incentive plans.

      (Dkt. 274 at 26–27). In response, Plaintiff abandoned any such claim, relying exclusively on

      intentional violations of the law and Caremark-style claims to set forth its breach of the duty of

   loyalty count. (Dkt. 264 n.6).

             Because Plaintiff abandoned this claim, any evidence relating to Defendants’ stock, stock

   options, or variable compensation plans is no longer relevant to any claim in this case. Fed. R.

   Evid. 401. It necessarily follows that introduction of this irrelevant evidence could serve only to

   confuse the jury and unfairly prejudice Defendants. Fed. R. Evid. 403. Thus, the Court should

   exclude any such evidence. (See, e.g., 226-2 at 154, deposition exhibit 117).

                                                 Conclusion
             For the foregoing reasons, the Court should exclude the foregoing evidence as

   inadmissible on all possible grounds. If the Court decides to defer certain evidentiary rulings

   until trial, Defendants request that he Court prohibit Plaintiff from referring to any of the

   challenged evidence in opening statements.


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                               Certification Pursuant to L.R. 7.1(a)(3)

           The undersigned counsel certifies that the parties have met and conferred in a good faith

   effort to resolve the issues listed above and were not able to do so.


                                                         Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

           I hereby certify that on May 7, 2018, I electronically filed the foregoing with the Clerk of

   Court, using CM/ECF. I also certify that the foregoing document was served on all counsel of

   record via transmission of Notice of Electronic filing generated by CM/ECF.

                                                                 /s/ Kenneth J. Duvall
                                                                 Kenneth J. Duvall




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